            Case 23-60394                       Doc 8            Filed 04/07/23 Entered 04/08/23 00:30:42                                                   Desc Imaged
                                                                 Certificate of Notice Page 1 of 4

Information to identify the case:

                       Ronald Franklin Thomas                                                 Social Security number or ITIN:      xxx−xx−7739
Debtor 1:
                                                                                              EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:                                                                                     Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name     Last Name                                EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     Western District of Virginia                                  Date case filed for chapter:            13       4/5/23

Case number:          23−60394
Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                           10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                       About Debtor 2:
1. Debtor's full name                              Ronald Franklin Thomas

2. All other names used in the
   last 8 years
                                                   2036 Chesterfield Road
3. Address                                         Locust Grove, VA 22508
                                                   William Harville                                                      Contact phone 434−483−5700
   Debtor's attorney
4. Name                                            327 W. Main St., #3
        and address                                Charlottesville, VA 22903                                             Email: harvillebk@gmail.com

5. Bankruptcy trustee                              Angela M. Scolforo (499275)                                           Contact phone 434−817−9913
     Name and address                              Office of the Chapter 13 Trustee
                                                   123 East Main Street                                                  Email: ascolforo@cvillech13.net
                                                   Suite 310
                                                   Charlottesville, VA 22902

6. Bankruptcy clerk's office                                                                                             Hours open:
     Documents in this case may be filed                                                                                 8:00 a.m. − 4:30 p.m.
     at this address.                              Lynchburg Division
     You may inspect all records filed in          1101 Court St, Room 166
                                                   Lynchburg, VA 24504                                                   Contact phone 434−845−0317
     this case at this office or online at
      https://pacer.uscourts.gov.
                                                                                                                         Date: 4/5/23
                                                                                                                                 For more information, see page 2




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Debtor Ronald Franklin Thomas                                                                                                             Case number 23−60394

7. Meeting of creditors                   May 22, 2023 at 10:00 AM                                                 Location:
   Debtors must attend the meeting to
   be questioned under oath. In a joint   The meeting may be continued or adjourned to a later date. If See attached list for meeting participation
   case, both spouses must attend.        so, the date will be on the court docket.                     details.
   Creditors may attend, but are not
   required to do so.
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 7/21/23
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following    You must file:
   deadlines.                              • a motion if you assert that the debtors are not entitled to receive a discharge
                                             under U.S.C. § 1328(f), or

                                           • a complaint if you want to have a particular debt excepted from discharge
                                             under 11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 6/14/23
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 10/2/23
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                           proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                           example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                           right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                         The debtor has not filed a plan as of this date. The hearing on confirmation will be held on:
                                          6/15/23 at 09:30 AM , Location: Video Conference before Judge Connelly. All parties connect using video
                                          conference instructions posted on the court website.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                           questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                           to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                           You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you believe
                                           that the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                           you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




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        Bridge       Chapter     Trustee        Instructions      Meeting Contact       Meeting Code
         Line


                       13         Micale           Zoom               Zoom ID:            Password:
                                                                    603 226 2142         341meeting

                       13        Scolforo          Zoom               Zoom ID:            Password:
                                                                    852 568 9053         341meeting
           3           7         Callahan      By Telephone        877−934−5491           9319497#
           4           7         Farthing      By Telephone        877−953−6090           8983497#
           5           7        Goldstein      By Telephone        877−492−0156           7313672#
           6           7          Higgs        By Telephone        877−960−3871           4647388#
           7           7         Hutman        By Telephone        866−527−4091           8515643#
           9           7           Scott       By Telephone        877−491−5685           9012607#
          10           7         Stevens       By Telephone        877−953−5197           7811951#
          11           7          Vogel        By Telephone        877−953−5927           9995849#
                                  UST
           1                     Roanoke       By Telephone        877−451−9313           9499523#
                                  Office


Zoom Instructions:

       Five minutes before the scheduled time, go to: zoom.us/join and enter the Zoom ID and password
       listed next to the presiding trustee. Mute your mic until your case is called. Participants not able to
       log in may call 1−301−715−8592 and enter the Zoom ID and password listed next to the presiding
       trustee. Place your phone on mute until your case is called.

Telephonic Instructions:

       Five minutes before the scheduled time, dial the call−in number and enter the passcode listed next to
       the presiding trustee. Place your phone on mute until your case is called.
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                                                              United States Bankruptcy Court
                                                               Western District of Virginia
In re:                                                                                                                 Case No. 23-60394-rbc
Ronald Franklin Thomas                                                                                                 Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0423-6                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Apr 05, 2023                                               Form ID: 309I                                                              Total Noticed: 9
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 07, 2023:
Recip ID                 Recipient Name and Address
db                     + Ronald Franklin Thomas, 2036 Chesterfield Road, Locust Grove, VA 22508-3133
tr                     + Angela M. Scolforo (499275), Office of the Chapter 13 Trustee, 123 East Main Street, Suite 310, Charlottesville, VA 22902-6800

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: harvillebk@gmail.com
                                                                                        Apr 05 2023 20:48:00      William Harville, 327 W. Main St., #3,
                                                                                                                  Charlottesville, VA 22903
5147730                + EDI: AAFES
                                                                                        Apr 06 2023 00:47:00      AAFES, PO Box 650060, Dallas, TX 75265-0060
5147731                + Email/Text: bncnotifications@pheaa.org
                                                                                        Apr 05 2023 20:48:00      AES/NCTR, PO Box 2461, Harrisburg, PA
                                                                                                                  17105-2461
5147732                + Email/Text: va_tax_bk@harriscollect.com
                                                                                        Apr 05 2023 20:48:00      Commonwealth of Virginia Dept Taxation, PO
                                                                                                                  Box 1115, Richmond, VA 23218-1115
5147733                   Email/Text: specialhandling@glasserlaw.com
                                                                                        Apr 05 2023 20:48:00      Glasser & Glasser, Crown Center Bldg, Suite 600,
                                                                                                                  580 E Main St, Norfolk, VA 23510
5147734                + EDI: IRS.COM
                                                                                        Apr 06 2023 00:47:00      IRS, PO Box 7346, Philadelphia, PA 19101-7346
5147735                + EDI: NAVIENTFKASMSERV.COM
                                                                                        Apr 06 2023 00:47:00      Navient, PO Box 9640, Wilkes Barre, PA
                                                                                                                  18773-9640

TOTAL: 7


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 07, 2023                                            Signature:           /s/Gustava Winters
